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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 MAXXAM PARTNERS, LLC, a Delaware
 limited liability company, and GLENWOOD
 ACADEMY, an Illinois not-for-profit
 corporation,
                                                            Case No. 17 C 5707
                       Plaintiffs,
                                                            Hon. Jorge L. Alonso
        v.
                                                            JURY TRIAL DEMANDED
 COUNTY OF KANE, KANE COUNTY
 ZONING BOARD OF APPEALS, and KANE
 COUNTY BOARD,

                       Defendants.


              ORDER APPROVING AND ENTERING CONSENT DECREE
        Before the Court is the parties’ Joint Motion to Approve and Enter the Consent Decree [78
and 86]. The parties’ motion requests that upon approval and entry of the Consent Decree, except
as necessary to enforce the terms of the Settlement Agreement and the Consent Decree, this matter
be dismissed with prejudice, with each party to bear its own attorneys’ fees and costs. For the
reasons stated in open Court, the earlier filed Joint Motion [78] is denied as moot and the later
filed Joint Motion [86] is approved and granted. The Court enters and adopts the Consent Decree
[86], and incorporates the parties’ proposed text, verbatim, below.


                                     CONSENT DECREE
       This Consent Decree (“Decree”) is entered by the Court upon the agreement of Plaintiffs
Maxxam Partners LLC, its successors and assigns (“Maxxam”), Glenwood Academy, its
successors and assigns (“Glenwood” and, together with Maxxam, “Plaintiffs”) and Defendants
County of Kane, Kane County Zoning Board of Appeals, and Kane County Board (collectively
“Defendants” or “Kane County”).

   I.        BACKGROUND

        On August 4, 2017, Plaintiffs filed a five-count complaint against Defendants alleging that
Defendants denied Maxxam’s application for a special use to operate an alcoholism and substance
abuse treatment facility on the property of the former Glenwood Academy School for Boys’ West
Campus, located at 41W400 Silver Glen Road in unincorporated Kane County, Illinois, in
violation of the Fair Housing Act, 42 U.S.C. § 3601, (“FHA”), Americans with Disabilities Act,
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42 U.S.C. § 12102, (“ADA”), Rehabilitation Act, 29 U.S.C. § 791, the Fifth and Fourteenth
Amendments to the United States Constitution, and state zoning law. Plaintiffs seek declaratory
and injunctive relief, compensatory and punitive damages, and attorneys’ fees. Plaintiffs’
complaint is referred to herein as “the Lawsuit.”

        Defendants dispute that they wrongfully denied Plaintiffs’ application for special use and
specifically deny that they discriminated against Plaintiffs’ proposed patients on the basis of
disability in violation of the FHA, ADA, Rehabilitation Act, the Fifth and Fourteenth Amendments
to the United States Constitution, and state zoning law. On October 13, 2017, Defendants filed an
Answer to Counts I, II, and III of the Lawsuit, denying the claims and allegations and filed a
motion to dismiss Counts IV and V of the complaint. In their response to Defendants’ motion to
dismiss, Plaintiffs disputed the legal bases for Defendants’ motion and withdrew their claim for
damages under Count V. On June 19, 2018, the Court denied Defendants’ motion to dismiss
without prejudice and with leave to refile should the parties not reach a settlement.

        The Plaintiffs and Kane County resolved all matters related to this action by entering into
a “Settlement Agreement” on August 14, 2018, subject to the entry of this Decree. The Settlement
Agreement requires that the Plaintiffs and Defendants jointly submit a request that the Court enter
this Decree, and thereby enforce approval of Maxxam’s application for the special use, subject to
the terms and conditions set forth in Section III, below.

        To avoid the uncertainty, delay and expense of complicated litigation, the parties agree that
this dispute between them should be resolved upon the terms and conditions set forth in the
Settlement Agreement and this Decree. The parties recognize and acknowledge that Defendants
do not admit liability in this matter and dispute that they are liable to Plaintiffs for any of the claims
and allegations in the Lawsuit. The parties further recognize and acknowledge that this Decree has
been negotiated at arms’ length and in good faith, that all required notices and procedural and
substantive procedures have been provided and followed, and that this Decree is fair, reasonable,
in the public interest, and lawful.

        The parties agree that, with the entry of this Decree, this case has been settled and all issues
and controversies have been resolved to their mutual satisfaction. The parties request this Court
to retain jurisdiction to enforce the terms of their Settlement Agreement and this Decree under the
authority of Kokkonen v. Guardian Life Insurance Company of America, 511 U.S. 375, 381-82
(1994).

       NOW THEREFORE, pursuant to the authority granted to this Court and to the
Defendants by the Illinois Counties Code and Kane County Ordinance §§ 4.8-2, et seq., and upon
agreement and consent of the parties, it is hereby ORDERED, ADJUDGED, and DECREED as
follows:

    II.     PARTIES

      This Decree applies to and is binding upon Maxxam, Glenwood Academy, County of
Kane, Kane County Zoning Board of Appeals, Kane County Board, and the members, officials,
employees, and agents of those so bound, and as provided in section IV below.
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   III.        SPECIAL USE APPROVAL

          A.     The Subject Property (the “Property”)

        The subject property has a street address of 41 W 400 Silver Glen Road, St. Charles, Illinois
60175 and is identified under parcel numbers 08-03-100-109; 05-34-300-032; 05-34-400-025.
The legal description of the property is attached hereto as Exhibit 1, and is expressly incorporated
herein.

          B.     Special Use Approval

        On August 28, 2015, Maxxam applied for a special use permit to operate an alcoholism
and substance abuse treatment facility (“the Facility”) (the “Application”). The Application,
which includes a Rider and tabbed exhibits, is attached hereto as Exhibit 2 and incorporated herein
by this reference. Pursuant to the Parties’ agreement, Maxxam has re-filed, and Kane County has
again considered Maxxam’s Application for a special use permit to operate the Facility as
described in Maxxam’s Application on the Property and incorporated therein the Application and
all supporting materials previously filed as Petition 4364.

        The County Zoning Officer designated the re-filed application submitted by Maxxam as
Petition 4462 and properly scheduled a public hearing before the Kane County Zoning Board of
Appeals (“ZBA”). The ZBA has properly conducted a public hearing pursuant to the Kane County
Zoning Ordinance and Illinois law during which it incorporated the complete public record from
Petition 4364 and heard additional testimony and comments; a record of which public hearing can
be found on the County website or otherwise made available for public inspection. The County
Board represents that it has considered the public record and the findings and recommendations of
the Kane County ZBA concerning Petition 4462 and it has determined that Petition 4462 as
modified by the terms and conditions set forth in Section III.C below: (i) satisfies all of the
standards set forth in Sections 4.8-2(a) through 4.8-2(f) of the Kane County Zoning Ordinance for
the approval of a special use permit to operate the Facility on the Property; and (ii) complies with
all applicable provisions of the Zoning Ordinance. Accordingly, the County Board approved the
terms of this Decree and Petition 4462 as described herein and subject to the conditions described
herein pursuant to the Ordinance, attached as Exhibit 3. These approvals give Maxxam the right
to operate an alcoholism and substance abuse treatment facility on the Property as described in the
Application (Exhibit 2), subject to those conditions set forth in section III.C., below. Maxxam’s
Application for special use approval pursuant to the Kane County Zoning Ordinance is thereby
deemed granted on such terms and conditions.

       Based on the parties’ representations, the Court finds that Defendants, in approving this
Decree, the Settlement Agreement, and Petition 4462, have complied with Illinois law and the
Kane County Zoning Ordinance.

       In granting its approval for the special use in accordance with this Decree, Defendants do
not admit that their previous actions were wrongful or that they discriminated against Plaintiffs’
proposed patients on the basis of disability in violation of the FHA, ADA, Rehabilitation Act, the
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Fifth and Fourteenth Amendments to the United States Constitution, and state zoning law. Further,
by adopting Exhibit 3, the Special Use Permit Ordinance, Defendants seek to help aid the public
by helping individuals and families who are impacted by addiction. Defendants reserve the right
to ensure that the Property is in compliance with all applicable codes and ordinances; provided,
however, that the Defendants shall not enforce any restriction that discriminates against Plaintiffs,
any resident of the alcoholism and substance abuse treatment facility on the Property, or any person
associated with any resident of the alcoholism and substance abuse treatment facility on the
Property on the basis of disability or any protected class. This Decree does not waive or vary the
application of any other section of Kane County’s ordinances, State of Illinois law, or federal law.

       C.        Conditions of Approval

         The conditions of approval are intended to ensure that the operation of the approved special
use is beneficial to, and does not negatively impact, the health, safety and general welfare of Kane
County’s residents. To the extent any of the conditions conflict with, or are in contravention of,
any Kane County ordinance in existence as of the date of this Decree, or any State of Illinois law,
State of Illinois license and operation requirements of Department of Human Services Division of
Alcoholism and Substance Abuse Treatment and Intervention Licenses (“DHS”), found at 77
Illinois Administrative Code, Subchapter d, Part 2060 (“Code”), or federal law, the condition is
invalid and shall not be enforced.

        The parties agree that all conditions contained in this Decree are fair and reasonable, will
not cause undue hardship on a party, and are not discriminatory or contrary to law. The parties
further agree that prior to the start of operation and thereafter on the annual anniversary date of the
start of operation, Maxxam shall provide the Kane County Zoning Officer a non-confidential
statement substantially in the form of Exhibit 4 confirming compliance with the conditions listed
below. The parties acknowledge and agree that this statement is subject to public disclosure.

       Subject to the above, the special use approval is subject to the following conditions:

            1.      Maxxam and the Facility shall obtain all necessary licenses from the State of
                    Illinois prior to start of operation, and shall maintain such licenses in good
                    standing during any period of operation. In connection therewith, Maxxam
                    shall comply with the legal and administrative requirements of the Code to the
                    satisfaction of DHS. These requirements shall include, but are not limited to,
                    all restrictions, obligations, undertakings, and requirements of Part 2060 (77 Ill.
                    Admin. Code 2060) that govern any of the following:

                    a. Organization representative and ownership disclosure (see Section
                       2060.207, 209);

                    b. License application, period of licensure, renewal, change of
                       ownership/management, and dissolution (see Sections 2060.211, 213, 215,
                       217, 219, 221, 223, 225, 227);



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              c. Facility requirements (see Section 2060.305), including those requiring
                 proof of compliance with all local and State health, safety, sanitation,
                 building and zoning codes (see Section 2060.305(a)(1)) and life safety
                 codes (see Section 2060.305(a)(2)), and those pertaining to emergency and
                 disaster planning and preparedness (see Section 2060.305(c));

              d. Records retention (see Section 2060.307);

              e. Staff qualifications, training, and personnel requirements and procedures
                 (see Section 2060.309, 311, 313);

              f. Quality improvement (see Section 2060.315);

              g. Emergency patient care (see Section 2060.327);

              h. Incident reporting (see Section 2060.331);

              i. Inspections (see Section 2060.335);

              j. Medical services (see Section 2060.413);

              k. Infectious disease control (see Section 2060.415);

              l. Patient assessment, screening and treatment planning (see Section
                 2060.417, 419, 421, 423); and

              m. Continuing recovery planning and discharge (see Section 2060.427).

       2.     To the extent permitted by law, Maxxam shall provide Kane County or its
              designee with 150 doses of NARCAN (Naloxone) or similar mutually agreeable
              medication per year for a total of 1,500 doses for a 10-year period, starting on
              the date one month after the start of operation and thereafter on the annual
              anniversary of such date.

       3.     The Special Use Permit approved by the Ordinance specifically and solely
              applies to the use and operation of all existing buildings on the subject Property
              as depicted on the site plan labeled “Maxxam Partners, LLC – Site Plan” and
              as described in the Application and Rider (Exhibit 2). A copy of the “Maxxam
              Partners, LLC – Site Plan” is separately attached and incorporated hereto as
              Exhibit 5.

       4.     Should Maxxam or its successor or assigns desire to add new buildings the
              parties shall comply with all applicable review and approval procedures in the
              Kane County Zoning Ordinance, as well as all applicable Kane County
              Ordinances, Illinois law, and federal and state anti-discrimination laws.



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       5.     The Facility shall not provide outpatient treatment of methadone patients or any
              other outpatient program or service unless it is related to a patient’s inpatient
              continuum of care.

       6.     Maxxam agrees to provide a level of security that, in the opinion of Maxxam’s
              retained security vendor, is sufficient to protect the facility’s residents and the
              surrounding community.

       7.     Maxxam shall comply with Change of Ownership/Management requirements
              in Section 2060.221 of the Code. Section 2060.221 provides, among other
              things, that each license issued by the Department of Human Services is not
              transferable and becomes null and void when there is a change of ownership
              involving more than 25% of the aggregate ownership interest within a one-year
              period or a significant change in management. Maxxam agrees to
              contemporaneously provide the County Zoning Officer with a copy of any
              notifications sent to the Department of Human Services under Section
              2060.221(b). Maxxam agrees to provide to any successor owner(s) a copy of
              this Decree.

       8.     Maxxam shall use reasonable efforts to pursue accreditation for the Facility by
              the Joint Commission on Accreditation of Health Care Organizations
              (“JCAHO”) and the Commission on Accreditation of Rehabilitation Facilities
              (“CARF”).

       9.     Maxxam and the Facility shall comply, as applicable, with all requirements of
              the Illinois Controlled Substances Act, 720 ILCS 520, and any other applicable
              federal, state or local law, regulation or code pertaining to the storage,
              distribution, disposal, and dispensation of any controlled substance.

       10.    Maxxam shall comply with the Professional Staff Qualifications requirement
              provided in Section 2060.309 of the Code. Such compliance includes, in any
              medically managed or monitored detoxification service that at least one staff
              member, 24 hours a day, shall be a registered nurse, or a licensed practical nurse
              or certified emergency medical technician who has completed at least 40 hours
              of formal training in the field of alcoholism or other substance abuse.
              Notwithstanding Section 2060.309’s staffing requirements, Maxxam agrees to
              provide a Medical Director as referenced in Section 2060.413(a)(1) on premises
              at least 30 hours per week.

       11.    Within one year of the start of operation, Maxxam shall establish a foundation
              through the Community Foundation for the Fox River Valley for outreach to
              the Kane County community in connection with issues pertaining to substance
              abuse and addiction. Maxxam will fund the foundation at a minimum level of
              $15,000 per year for a minimum of 10 years.

       12.    Maxxam shall comply with all applicable federal, state and local laws,
              regulations and codes pertaining to wastewater at its facility, including but not
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                  limited to the Wastewater Land Treatment Site Regulation Act, 415 ILCS 50/1,
                  all related legal requirements of Kane County, and all related requirements of
                  the Illinois and federal Environmental Protection Agency. Maxxam shall
                  provide to the County any well monitoring/testing reports it receives from the
                  Illinois or federal Environmental Protection Agency and/or any reports it
                  receives from third-party vendors within 30 days of receipt.

           13.    Maxxam shall comply with Section 2060.305 (g) (1)-(24) of the Code’s spacing
                  requirements including that (a) a minimum of 80 square feet is provided in a
                  single bedroom; (b) 60 square feet is provided per bed in a multi-bedroom with
                  no more than four beds per room; and (c) no bunk beds will be used for any
                  detoxification patient.

           14.    Maxxam shall install a fence substantially in compliance with Exhibit 6. The
                  fence shall be located and installed around the Property 5-yards inside the
                  survey line except for designated floodplain areas, as indicated in Exhibit 6, and
                  across the private road/access drive. The fence shall be a minimum of 4 feet in
                  height and shall be similar to the fence depicted in the photograph in Exhibit 7.

           15.    Exterior lighting fixtures upon replacement of existing fixtures or upon
                  installation of new fixtures shall be full cut-off and have a color temperature of
                  less than 3,000 Kelvin, provided that such fixtures do not compromise security
                  as determined by the security system provider.

           16.    All signage related to the Facility shall be restricted to the Property. Further,
                  such signage or advertising shall not be placed on the water tower located on
                  the Property.

           17.    Maxxam shall pay the Fox River & Countryside Fire/Rescue District or any
                  entity providing emergency medical services (EMS) to the Subject Property,
                  including through any mutual aid agreements (hereinafter collectively the
                  “EMS Entity”), directly for all emergency transport fees for transports to or
                  from the Property, according to the EMS Entity’s regular cost recovery and fee
                  schedule in effect at the time of the transport. Maxxam agrees that the EMS
                  Entity can bill Maxxam directly for all such transport fees and that Maxxam
                  shall pay such fees on behalf of its patients and residents directly to the EMS
                  Entity.

IV.    SUCCESSOR OWNERS AND RECORDATION

       Plaintiffs and Defendants agree that this Decree, the Settlement Agreement and the Special
Use granted herein each shall run with the land and inure to the benefit of and shall be binding
upon Maxxam Partners, LLC together with any assigns and/or successors (including any assignee
of Maxxam’s rights to purchase the Property, under its purchase and sale agreement, or otherwise),
and any other tenant or occupant of the Property and any successor owners of Maxxam Partners,
LLC or managers of the business. This Decree and the Settlement Agreement shall be recorded

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with the Kane County Recorder’s Office by Maxxam at Maxxam’s sole cost and expense within
thirty days of entry of this Decree.

V.     PROCEDURES AND MISCELLANEOUS.

       A.        Retention of Jurisdiction.

            1.      By consent of the parties, the Court shall retain jurisdiction for the purpose of
                    enforcing the terms of this Decree and of the Settlement Agreement.

            2.      The parties shall comply with all terms of this Decree and the signed Settlement
                    Agreement. The parties agree and acknowledge that this Decree, including its
                    reference to the signed Settlement Agreement and/or any other document,
                    meets all requirements of Federal Rule of Civil Procedure 65(d) to state its
                    terms specifically and to describe in reasonable detail the acts restrained or
                    required, and the parties further agree and acknowledge that they waive any and
                    all challenges to this Decree under Rule 65(d) before this Court and/or on
                    appeal.

            3.      The parties shall attempt to resolve informally any disputes that may occur
                    under the Decree and/or the Settlement Agreement. If the parties are unable to
                    reach agreement, the issue may be submitted by either party to the Court for
                    resolution.

       B.        Integration; Representations and Warranties.

        The Settlement Agreement and Decree (together the “Consent Documents”) constitute the
final, complete and exclusive agreement and understanding between the Plaintiffs and the
Defendants with respect to the settlement of this action. The Plaintiffs and the Defendants
acknowledge that there are not, and that they are not relying upon, any representations, agreements
or understandings relating to the settlement of the matters embodied in the Decree, other than those
expressly contained therein. The Plaintiffs and the Defendants acknowledge and represent that
they have carefully reviewed the Settlement Agreement and this Decree and the terms thereof, they
understand their contents and that they have executed them as their own free and voluntary act
after consultation with legal counsel, which have had an opportunity to review the Settlement
Agreement and Decree and their terms.

       C.        Disputed Liability.

       It is understood and agreed that Kane County’s consent to this Decree is made in the
compromise of a doubtful and disputed claim and that this Decree is not to be construed as an
admission of any liability of Kane County, such liability having been expressly denied.


       D.        Effect on Parties and Property.

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         This Decree enforces the granting of a special use for the Property and approval of a
special use on the foregoing terms and conditions pursuant to Kane County’s approval of the
application on such terms and conditions, and with the same force and effect as any other special
use approved by Kane County in the ordinary course. Except as set forth herein, this Decree is not
intended to constitute a waiver by any party of any rights or remedies at law or in equity. As such,
the obligations and rights under this Decree run with the Property and belong to both Plaintiffs and
any future owners or developers of the Property.

         This Decree shall supersede any prior Kane County Board votes or resolutions as they
relate to the parties, the Property, the special use application, and the development of an alcoholism
and substance abuse treatment facility on the Property.

       Upon sale of the property to Maxxam, its successors and assigns, any and all obligations
of Glenwood under the Consent Decree are terminated and cease to exist. Maxxam, and Maxxam
alone, is responsible for the operation of its facility, and Glenwood is not a necessary or
indispensable party to any disputes arising between Kane County and Maxxam regarding the
operation of the facility. This paragraph does not, however, affect or relieve Glenwood of its duties
and obligations under the Settlement Agreement.

       E.      Dismissal.

        Except as necessary to enforce the terms of the Settlement Agreement and Decree, this case
is hereby dismissed with prejudice. Each party shall bear its own attorney’s fees and costs. The
Parties are barred from relitigating any claims raised in this matter or any claims released by the
mutual general releases they executed concurrently herewith and/or set out in the Settlement
Agreement.

       F.      Final Order.

        Upon approval and entry of this Decree by the Court, this Decree shall constitute a final
judgment of the Court. The Court finds that there is no just reason for delay and, therefore, enters
this judgment as a final judgment.



ENTERED


11/30/18                                              ____________________________________
                                                      Jorge L. Alonso
                                                      United States District Judge




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                        Exhibit 1
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                                        Exhibit 1

   To Ordinance Approving the Consent Decree and Settlement Agreement with Maxxam
Partners, LLC and Glenwood Academy and Granting a Special Use as Described in Petition No.
                                         ____


THAT PART OF THE SOUTH HALF OF SECTION 34, TOWNSHIP 41 NORTH, RANGE 7
EAST OF THE 3rd PRINCIPAL MERIDIAN AND PART OF THE NORTH HALF OF
FRACTIONAL SECTION 3, TOWNSHIP 40 NORTH, RANGE 7 EAST OF THE 3rd PRINCIPAL
MERIDIAN ALL DESCRIBED AS FOLLOWS: COMMENCING AT THE NORTHWEST
CORNER OF THE SOUTHWEST QUARTER OF SECTION 35, TOWNSHIP 41 NORTH,
RANGE 7 EAST OF THE 3rd PRINCIPAL MERIDIAN, THENCE EASTERLY ALONG THE
NORTH LINE OF SAID SOUTHWEST QUARTER 339.90 FEET; THENCE SOUTHERLY TO
THE SOUTHWEST CORNER OF THE SOUTHWEST QUARTER; THENCE NORTHERLY
ALONG THE LAST DESCRIBED COURSE 980.77 FEET TO THE CENTER LINE OF
MCDONALD DRIVE; THENCE NORTHWESTERLY AND WESTERLY ALONG SAID CENTER
LINE 2884.59 FEET TO A POINT THAT IS 62.70 FEET WESTERLY OF THE EAST LINE OF
THE SOUTHWEST QUARTER OF SAID SECTION 34 (MEASURED ALONG SAID CENTER
LINE) BEING THE NORTHEAST CORNER OF A TRACT OF LAND CONVEYED TO HENRY
O. LARSON AND ELIZABETH V. LARSON BY DEED RECORDED AS DOCUMENT 648085;
THENCE SOUTHERLY ALONG THE EASTERLY LINE OF SAID LARSON TRACT 776.0 FEET
TO A POINT THAT IS 10.0 FEET NORTHERLY OF THE SOUTHEAST CORNER OF SAID
LARSON TRACT; THENCE EASTERLY PARALLEL WITH THE SOUTH LINE OF SAID
LARSON TRACT 24.85 FEET; THENCE SOUTHEASTERLY ALONG A LINE FORMING AN
ANGLE OF 68°59’52” WITH THE PROLONGATION OF THE LAST DESCRIBED COURSE
(MEASURED CLOCKWISE THEREFROM) 101.12 FEET; THENCE SOUTHERLY ALONG A
CURVE TO THE RIGHT HAVING A RADIUS OF 210.0 FEET, TANGENT TO THE LAST
DESCRIBED COURSE 104.64 FEET; THENCE SOUTHWESTERLY ALONG A CURVE TO
THE RIGHT HAVING A RADIUS OF 390.0 FEET, TANGENT TO THE LAST DESCRIBED
CURVE, 90.98 FEET; THENCE SOUTHWESTERLY TANGENT TO THE LAST DESCRIBED
CURVE 104.0 FEET; THENCE SOUTHERLY ALONG A CURVE TO THE LEFT HAVING A
RADIUS OF 360.0 FEET TANGENT TO THE LAST DESCRIBED COURSE 94.87 FEET TO A
LINE DRAWN PARALLEL WITH AND 59.25 FEET NORTHERLY OF THE SOUTH LINE
(MEASURED AT RIGHT ANGLES THERETO) OF THE SOUTHWEST QUARTER OF SAID
SECTION 34 FOR A POINT OF BEGINNING; THENCE EASTERLY ALONG SAID PARALLEL
LINE 336.05 FEET; THENCE SOUTHEASTERLY ALONG A LINE FORMING AN ANGLE OF
157°06’37” WITH THE LAST DESCRIBED COURSE (MEASURED COUNTERCLOCKWISE
THEREFROM) 1418.0 FEET; THENCE SOUTHERLY ALONG A LINE FORMING AN ANGLE
OF 122°50’43” WITH THE LAST DESCRIBED COURSE (MEASURED
COUNTERCLOCKWISE THEREFROM) 892.0 FEET; THENCE SOUTHWESTERLY ALONG A
LINE FORMING AN ANGLE OF 99°11’29” WITH THE LAST DESCRIBED COURSE
(MEASURED COUNTERCLOCKWISE THEREFROM) 1863.0 FEET; THENCE
NORTHWESTERLY ALONG A LINE FORMING AN ANGLE OF 142°54’33” WITH THE LAST
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DESCRIBED COURSE (MEASURED COUNTERCLOCKWISE THEREFROM) 1448.0 FEET;
THENCE NORTHERLY ALONG A LINE FORMING AN ANGLE OF 117°39’28” WITH THE
LAST DESCRIBED COURSE (MEASURED COUNTERCLOCKWISE THEREFROM) 867.0
FEET; THENCE NORTHERLY ALONG A LINE FORMING AN ANGLE OF 172°26’59” WITH
THE LAST DESCRIBED COURSE (MEASURED COUNTERCLOCKWISE THEREFROM)
741.0 FEET TO SAID PARALLEL LINE; THENCE EASTERLY ALONG SAID PARALLEL LINE
1514.95 FEET TO THE POINT OF BEGINNING, IN KANE COUNTY, ILLINOIS. The property is
located at 41W400 Silver Glen Road.
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                        Exhibit 2
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Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 31 of 346 PageID #:2354
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 32 of 346 PageID #:2355
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 33 of 346 PageID #:2356
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 34 of 346 PageID #:2357
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 35 of 346 PageID #:2358
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 36 of 346 PageID #:2359
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 37 of 346 PageID #:2360
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 38 of 346 PageID #:2361
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 39 of 346 PageID #:2362
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 40 of 346 PageID #:2363
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 41 of 346 PageID #:2364
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 42 of 346 PageID #:2365
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 43 of 346 PageID #:2366
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 44 of 346 PageID #:2367
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 45 of 346 PageID #:2368
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 46 of 346 PageID #:2369
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 47 of 346 PageID #:2370
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 48 of 346 PageID #:2371
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 49 of 346 PageID #:2372
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 50 of 346 PageID #:2373
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 51 of 346 PageID #:2374
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 52 of 346 PageID #:2375
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 53 of 346 PageID #:2376
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 54 of 346 PageID #:2377
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 55 of 346 PageID #:2378
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 56 of 346 PageID #:2379
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 57 of 346 PageID #:2380
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 58 of 346 PageID #:2381
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 59 of 346 PageID #:2382
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 60 of 346 PageID #:2383
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 61 of 346 PageID #:2384
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 62 of 346 PageID #:2385
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 63 of 346 PageID #:2386
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 64 of 346 PageID #:2387
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 65 of 346 PageID #:2388
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 66 of 346 PageID #:2389
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 67 of 346 PageID #:2390
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 68 of 346 PageID #:2391
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 69 of 346 PageID #:2392
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 70 of 346 PageID #:2393
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 71 of 346 PageID #:2394
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 72 of 346 PageID #:2395
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 73 of 346 PageID #:2396
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 74 of 346 PageID #:2397
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 75 of 346 PageID #:2398
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 76 of 346 PageID #:2399
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 77 of 346 PageID #:2400
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 78 of 346 PageID #:2401
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 79 of 346 PageID #:2402
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 80 of 346 PageID #:2403
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 81 of 346 PageID #:2404
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 82 of 346 PageID #:2405
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 83 of 346 PageID #:2406
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 84 of 346 PageID #:2407
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 85 of 346 PageID #:2408
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 86 of 346 PageID #:2409
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 87 of 346 PageID #:2410
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 88 of 346 PageID #:2411
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 89 of 346 PageID #:2412
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 90 of 346 PageID #:2413
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 91 of 346 PageID #:2414
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 92 of 346 PageID #:2415
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 93 of 346 PageID #:2416
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 94 of 346 PageID #:2417
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 95 of 346 PageID #:2418
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 96 of 346 PageID #:2419
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 97 of 346 PageID #:2420
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 98 of 346 PageID #:2421
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 99 of 346 PageID #:2422
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 100 of 346 PageID #:2423
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 101 of 346 PageID #:2424
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 102 of 346 PageID #:2425
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 103 of 346 PageID #:2426
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 104 of 346 PageID #:2427
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 105 of 346 PageID #:2428
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 106 of 346 PageID #:2429
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 107 of 346 PageID #:2430
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 108 of 346 PageID #:2431
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 109 of 346 PageID #:2432
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 110 of 346 PageID #:2433
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 111 of 346 PageID #:2434
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 112 of 346 PageID #:2435
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 113 of 346 PageID #:2436
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 114 of 346 PageID #:2437
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 115 of 346 PageID #:2438
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 116 of 346 PageID #:2439
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 117 of 346 PageID #:2440
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 118 of 346 PageID #:2441
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 119 of 346 PageID #:2442
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 120 of 346 PageID #:2443
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 121 of 346 PageID #:2444
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 122 of 346 PageID #:2445
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 123 of 346 PageID #:2446
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 124 of 346 PageID #:2447
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 125 of 346 PageID #:2448
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 126 of 346 PageID #:2449
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 127 of 346 PageID #:2450
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 128 of 346 PageID #:2451
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 129 of 346 PageID #:2452
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 130 of 346 PageID #:2453
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 131 of 346 PageID #:2454
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 132 of 346 PageID #:2455
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 133 of 346 PageID #:2456
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 134 of 346 PageID #:2457
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 135 of 346 PageID #:2458
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 136 of 346 PageID #:2459
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 137 of 346 PageID #:2460
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 138 of 346 PageID #:2461
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 139 of 346 PageID #:2462
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 140 of 346 PageID #:2463
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 141 of 346 PageID #:2464
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 142 of 346 PageID #:2465
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 143 of 346 PageID #:2466
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 144 of 346 PageID #:2467
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 145 of 346 PageID #:2468
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 146 of 346 PageID #:2469
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 147 of 346 PageID #:2470
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 148 of 346 PageID #:2471
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 149 of 346 PageID #:2472
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 150 of 346 PageID #:2473
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 151 of 346 PageID #:2474
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 152 of 346 PageID #:2475
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 153 of 346 PageID #:2476
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 154 of 346 PageID #:2477
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 155 of 346 PageID #:2478
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 156 of 346 PageID #:2479
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 157 of 346 PageID #:2480
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 158 of 346 PageID #:2481
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 159 of 346 PageID #:2482
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 160 of 346 PageID #:2483
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 161 of 346 PageID #:2484
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 162 of 346 PageID #:2485
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 163 of 346 PageID #:2486
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 164 of 346 PageID #:2487
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 165 of 346 PageID #:2488
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 166 of 346 PageID #:2489
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 167 of 346 PageID #:2490
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 168 of 346 PageID #:2491
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 169 of 346 PageID #:2492
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 170 of 346 PageID #:2493
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 171 of 346 PageID #:2494
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 172 of 346 PageID #:2495
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 173 of 346 PageID #:2496
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 174 of 346 PageID #:2497
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 175 of 346 PageID #:2498
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 176 of 346 PageID #:2499
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 177 of 346 PageID #:2500
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 178 of 346 PageID #:2501
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 179 of 346 PageID #:2502
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 180 of 346 PageID #:2503
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 181 of 346 PageID #:2504
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 182 of 346 PageID #:2505
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 183 of 346 PageID #:2506
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 184 of 346 PageID #:2507
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 185 of 346 PageID #:2508
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 186 of 346 PageID #:2509
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 187 of 346 PageID #:2510
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 188 of 346 PageID #:2511
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 189 of 346 PageID #:2512
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 190 of 346 PageID #:2513
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 191 of 346 PageID #:2514
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 192 of 346 PageID #:2515
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 193 of 346 PageID #:2516
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 194 of 346 PageID #:2517
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 195 of 346 PageID #:2518
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 196 of 346 PageID #:2519
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 197 of 346 PageID #:2520
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 198 of 346 PageID #:2521
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 199 of 346 PageID #:2522
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 200 of 346 PageID #:2523
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 201 of 346 PageID #:2524
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 202 of 346 PageID #:2525
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 203 of 346 PageID #:2526
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 204 of 346 PageID #:2527
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 205 of 346 PageID #:2528
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 206 of 346 PageID #:2529
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 207 of 346 PageID #:2530
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 208 of 346 PageID #:2531
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 209 of 346 PageID #:2532
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 210 of 346 PageID #:2533
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 211 of 346 PageID #:2534
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 212 of 346 PageID #:2535
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 213 of 346 PageID #:2536
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 214 of 346 PageID #:2537
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 215 of 346 PageID #:2538
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 216 of 346 PageID #:2539
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 217 of 346 PageID #:2540
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 218 of 346 PageID #:2541
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 219 of 346 PageID #:2542
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 220 of 346 PageID #:2543
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 221 of 346 PageID #:2544
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 222 of 346 PageID #:2545
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 223 of 346 PageID #:2546
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 224 of 346 PageID #:2547
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 225 of 346 PageID #:2548
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 226 of 346 PageID #:2549
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 227 of 346 PageID #:2550
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 228 of 346 PageID #:2551
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 229 of 346 PageID #:2552
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 230 of 346 PageID #:2553
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 231 of 346 PageID #:2554
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 232 of 346 PageID #:2555
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 233 of 346 PageID #:2556
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 234 of 346 PageID #:2557
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 235 of 346 PageID #:2558
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 236 of 346 PageID #:2559
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 237 of 346 PageID #:2560
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 238 of 346 PageID #:2561
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Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 244 of 346 PageID #:2567
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Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 246 of 346 PageID #:2569
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 247 of 346 PageID #:2570
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 248 of 346 PageID #:2571
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Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 258 of 346 PageID #:2581
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 259 of 346 PageID #:2582
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 260 of 346 PageID #:2583
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 261 of 346 PageID #:2584
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 262 of 346 PageID #:2585
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 263 of 346 PageID #:2586
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 264 of 346 PageID #:2587
Case: 1:17-cv-05707 Document #: 106 Filed: 11/30/18 Page 265 of 346 PageID #:2588
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                        Exhibit 3
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STATE OF ILLINOIS

COUNTY OF KANE

      ORDINANCE APPROVING THE CONSENT DECREE AND SETTLEMENT AGREEMENT
       WITH MAXXAM PARTNERS, LLC AND GLENWOOD ACADEMY AND GRANTING A
                  SPECIAL USE AS DESCRIBED IN PETITION NO. ___

       WHEREAS, on August 28, 2015, Maxxam Partners, LLC (hereinafter “Maxxam”), filed an
application for a special use permit to operate an alcoholism and substance abuse treatment facility on
property located at 41 W 400 Silver Glen Road, St. Charles, Illinois 60175 (hereinafter the “Property”),
and owned by co-applicant Glenwood Academy (hereinafter “Glenwood”);

       WHEREAS, the Property is identified under parcel numbers 08-03-100-109; 05-34-300-032; 05-
34-400-025, and the legal description of the property is attached hereto as Exhibit 1, which is expressly
incorporated herein by this reference;

        WHEREAS, the County Zoning Officer designated the application submitted by Maxxam as
Petition 4364 (hereinafter “Petition 4364”) and properly scheduled public hearings before the Kane
County Zoning Board of Appeals pursuant to the Kane County Zoning Ordinance and Illinois law, a
record of which can be found on the County website or otherwise made available for public inspection;

       WHEREAS, on May 9, 2017, the Kane County Board denied Petition 4364;

       WHEREAS, on August 4, 2017, Maxxam and Glenwood filed a lawsuit in federal court against
the County, County Board and Zoning Board, challenging the County Board’s denial of the special use
permit under federal and state law and seeking monetary, declaratory and injunctive relief (hereinafter
the “Lawsuit”);

     WHEREAS, the County Defendants denied and still deny liability and damages as claimed by
Maxxam and Glenwood;

         WHEREAS, to avoid the uncertainty, delay and expense of complicated litigation, the parties to
the Lawsuit have agreed that: (i) Maxxam should re-file, and the County should again consider,
Maxxam’s application for a special use permit to operate an alcoholism and substance abuse treatment
facility (the “Facility”) on the Property; and (ii) the dispute between them should be resolved upon the
terms and conditions set forth in the proposed Settlement Agreement and Consent Decree attached
hereto as Exhibits 2 and 3, respectively.

        WHEREAS, in settling the Lawsuit, the parties recognize and acknowledge that the County
Defendants do not admit liability and dispute that they are liable to Maxxam and Glenwood for any of
the claims and allegations in the Lawsuit;

        WHEREAS, Maxxam re-filed its application for a special use permit to operate the Facility on
the Property, and incorporated therein its application and all supporting materials filed previously as
Petition 4364;
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        WHEREAS, the County Zoning Officer designated the re-filed application submitted by Maxxam
as Petition ____ (hereinafter “Petition ____”) and properly scheduled a public hearing before the Kane
County Zoning Board of Appeals;

       WHEREAS, the Kane County Zoning Board of Appeals properly conducted a public hearing
pursuant to the Kane County Zoning Ordinance and Illinois law during which it incorporated the
complete public record from Petition 4364 and heard additional testimony and comments; a record of
which public hearing can be found on the County website or otherwise made available for public
inspection;

      WHEREAS, the County Board has considered the public record and the findings and
recommendations of the Kane County Zoning Board of Appeals concerning Petition ____;

        WHEREAS, as set forth in Paragraph 2 of this Ordinance, the County Board has determined
that Petition ____, as modified by the terms and conditions set forth in the proposed Settlement
Agreement and Consent Decree, including but not limited to the conditions as set forth in the attached
Exhibit 4 to this Ordinance: (i) satisfies all of the standards set forth in Sections 4.8-2(a) through 4.8-2(f)
of the Kane County Zoning Ordinance for the approval of a special use permit to operate the Facility on
the Property; and (ii) complies with all applicable provisions of the Zoning Ordinance;

        WHEREAS, as part of the settlement, and pursuant to the requirements of Section 4.8 of the
Kane County Zoning Ordinance, including Section 4.8-2(a) – (f), the County has agreed to grant
Petition ___    subject to the terms and conditions set forth in the proposed Settlement Agreement
and Consent Decree and in this Ordinance.

        NOW, THEREFORE, BE IT ORDAINED by the County Board of Kane County, Illinois, as
follows:

   1   That the County Board of Kane County hereby ratifies and approves, and the Chairman or other
       authorized representative of the County of Kane has the authority to execute all necessary
       documents associated with, the proposed Settlement Agreement and Consent Decree in the
       form attached hereto as Exhibits 2 and 3, respectively, and incorporated herein by this
       reference.

   2   That the County Board of Kane County hereby specifically finds, with respect to Petition ___,
       that all applicable procedures and requirements for the review and consideration of Petition
       ____ under the Kane County Zoning Ordinance and under Illinois law have been fully and
       properly satisfied.

   3   That the County Board of Kane County hereby specifically finds, with respect to Petition ___, as
       modified by the terms and conditions set forth in the proposed Settlement Agreement and
       Consent Decree, including but not limited to the conditions as set forth in the attached Exhibit 4
       to this Ordinance, that the establishment, maintenance and operation of the Facility on the
       Property (a) will not be unreasonably detrimental to or endanger the public health, safety,
       morals, comfort or general welfare; (b) will not be injurious to the use and enjoyment of other
       property in the immediate vicinity for the purposes already permitted, nor substantially diminish
       and impair property values within the neighborhood; and (c) will not impede the normal and
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        orderly development and improvement of surrounding property for uses permitted in the district;
        and the County Board of Kane County further specifically finds that (d) adequate utility, access
        roads, drainage and/or other necessary facilities have been or are being provided on the
        Property; (e) adequate measures have been or will be taken to provide ingress and egress so
        designed as to minimize traffic congestion in the public streets and roads; and (f) the Facility, in
        all other respects, conforms to the applicable regulations of the district in which it is located,
        except as such regulations are modified by the County Board pursuant to this Ordinance.

   4    That a special use permit to operate the private-pay alcoholism and substance abuse treatment
        Facility on the Property is hereby granted to Maxxam, and is hereby approved under the
        provisions of Section 4.8 of the Kane County Zoning Ordinance, including Section 4.8-2(a) – (f),
        and subject to the terms and conditions set forth in the proposed Settlement Agreement and
        Consent Decree, including but not limited to the conditions as set forth in the Attached Exhibit 4
        to this Ordinance.

   5    That the zoning maps of Kane County, Illinois shall be, and are hereby amended to reflect the
        relief granted in this Ordinance.

   6    This Ordinance shall be in full force and effect from and after its passage and approved as
        provided by law.

        Passed by the Kane County Board on August 14, 2018.




______________________________________                       ___________________________________
John A. Cunningham                                           Christopher J. Lauzen or Other Authorized
Clerk, County Board                                          Board Representative
Kane County, Illinois                                        Chairman, County Board
                                                             Kane County, Illinois

Vote:
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                                         Exhibit 1

To Ordinance Approving the Consent Decree and Settlement Agreement with Maxxam Partners, LLC
       and Glenwood Academy and Granting a Special Use as Described in Petition No. ____


THAT PART OF THE SOUTH HALF OF SECTION 34, TOWNSHIP 41 NORTH, RANGE 7 EAST OF
THE 3rd PRINCIPAL MERIDIAN AND PART OF THE NORTH HALF OF FRACTIONAL SECTION 3,
TOWNSHIP 40 NORTH, RANGE 7 EAST OF THE 3rd PRINCIPAL MERIDIAN ALL DESCRIBED AS
FOLLOWS: COMMENCING AT THE NORTHWEST CORNER OF THE SOUTHWEST QUARTER OF
SECTION 35, TOWNSHIP 41 NORTH, RANGE 7 EAST OF THE 3rd PRINCIPAL MERIDIAN,
THENCE EASTERLY ALONG THE NORTH LINE OF SAID SOUTHWEST QUARTER 339.90 FEET;
THENCE SOUTHERLY TO THE SOUTHWEST CORNER OF THE SOUTHWEST QUARTER;
THENCE NORTHERLY ALONG THE LAST DESCRIBED COURSE 980.77 FEET TO THE CENTER
LINE OF MCDONALD DRIVE; THENCE NORTHWESTERLY AND WESTERLY ALONG SAID
CENTER LINE 2884.59 FEET TO A POINT THAT IS 62.70 FEET WESTERLY OF THE EAST LINE OF
THE SOUTHWEST QUARTER OF SAID SECTION 34 (MEASURED ALONG SAID CENTER LINE)
BEING THE NORTHEAST CORNER OF A TRACT OF LAND CONVEYED TO HENRY O. LARSON
AND ELIZABETH V. LARSON BY DEED RECORDED AS DOCUMENT 648085; THENCE
SOUTHERLY ALONG THE EASTERLY LINE OF SAID LARSON TRACT 776.0 FEET TO A POINT
THAT IS 10.0 FEET NORTHERLY OF THE SOUTHEAST CORNER OF SAID LARSON TRACT;
THENCE EASTERLY PARALLEL WITH THE SOUTH LINE OF SAID LARSON TRACT 24.85 FEET;
THENCE SOUTHEASTERLY ALONG A LINE FORMING AN ANGLE OF 68°59’52” WITH THE
PROLONGATION OF THE LAST DESCRIBED COURSE (MEASURED CLOCKWISE THEREFROM)
101.12 FEET; THENCE SOUTHERLY ALONG A CURVE TO THE RIGHT HAVING A RADIUS OF
210.0 FEET, TANGENT TO THE LAST DESCRIBED COURSE 104.64 FEET; THENCE
SOUTHWESTERLY ALONG A CURVE TO THE RIGHT HAVING A RADIUS OF 390.0 FEET,
TANGENT TO THE LAST DESCRIBED CURVE, 90.98 FEET; THENCE SOUTHWESTERLY
TANGENT TO THE LAST DESCRIBED CURVE 104.0 FEET; THENCE SOUTHERLY ALONG A
CURVE TO THE LEFT HAVING A RADIUS OF 360.0 FEET TANGENT TO THE LAST DESCRIBED
COURSE 94.87 FEET TO A LINE DRAWN PARALLEL WITH AND 59.25 FEET NORTHERLY OF THE
SOUTH LINE (MEASURED AT RIGHT ANGLES THERETO) OF THE SOUTHWEST QUARTER OF
SAID SECTION 34 FOR A POINT OF BEGINNING; THENCE EASTERLY ALONG SAID PARALLEL
LINE 336.05 FEET; THENCE SOUTHEASTERLY ALONG A LINE FORMING AN ANGLE OF
157°06’37” WITH THE LAST DESCRIBED COURSE (MEASURED COUNTERCLOCKWISE
THEREFROM) 1418.0 FEET; THENCE SOUTHERLY ALONG A LINE FORMING AN ANGLE OF
122°50’43” WITH THE LAST DESCRIBED COURSE (MEASURED COUNTERCLOCKWISE
THEREFROM) 892.0 FEET; THENCE SOUTHWESTERLY ALONG A LINE FORMING AN ANGLE OF
99°11’29” WITH THE LAST DESCRIBED COURSE (MEASURED COUNTERCLOCKWISE
THEREFROM) 1863.0 FEET; THENCE NORTHWESTERLY ALONG A LINE FORMING AN ANGLE
OF 142°54’33” WITH THE LAST DESCRIBED COURSE (MEASURED COUNTERCLOCKWISE
THEREFROM) 1448.0 FEET; THENCE NORTHERLY ALONG A LINE FORMING AN ANGLE OF
117°39’28” WITH THE LAST DESCRIBED COURSE (MEASURED COUNTERCLOCKWISE
THEREFROM) 867.0 FEET; THENCE NORTHERLY ALONG A LINE FORMING AN ANGLE OF
172°26’59” WITH THE LAST DESCRIBED COURSE (MEASURED COUNTERCLOCKWISE
THEREFROM) 741.0 FEET TO SAID PARALLEL LINE; THENCE EASTERLY ALONG SAID
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PARALLEL LINE 1514.95 FEET TO THE POINT OF BEGINNING, IN KANE COUNTY, ILLINOIS. The
property is located at 41W400 Silver Glen Road.
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                                                Exhibit 4

To Ordinance Approving the Consent Decree and Settlement Agreement with Maxxam Partners, LLC
       and Glenwood Academy and Granting a Special Use as Described in Petition No. ____

1. Maxxam and the Facility shall obtain all necessary licenses from the State of Illinois prior to start of
   operation and shall maintain such licenses in good standing during any period of operation. In
   connection therewith, Maxxam shall comply with the legal and administrative requirements of the
   Department of Human Services Division of Alcoholism and Substance Abuse Treatment and
   Intervention Licenses (“DHS”), found at 77 Illinois Administrative Code, Subchapter d, Part 2060
   (“Code”), to the satisfaction of Department of Human Services. These requirements shall include,
   but are not limited to, all restrictions, obligations, undertakings, and requirements of Part 2060 (77
   Ill. Admin. Code 2060) that govern any of the following:
           a. Organization representative and ownership disclosure (see Section 2060.207, 209);
           b. License application, period of licensure, renewal, change of ownership/management,
               and dissolution (see Sections 2060.211, 213, 215, 217, 219, 221, 223, 225, 227);
           c. Facility requirements (see Section 2060.305), including those requiring proof of
               compliance with all local and State health, safety, sanitation, building and zoning codes
               (see Section 2060.305(a)(1)) and life safety codes (see Section 2060.305(a)(2)), and
               those pertaining to emergency and disaster planning and preparedness (see Section
               2060.305(c));
           d. Records retention (see Section 2060.307);
           e. Staff qualifications, training, and personnel requirements and procedures (see Section
               2060.309, 311, 313);
           f. Quality improvement (see Section 2060.315);
           g. Emergency patient care (see Section 2060.327);
           h. Incident reporting (see Section 2060.331);
           i. Inspections (see Section 2060.335);
           j. Medical services (see Section 2060.413);
           k. Infectious disease control (see Section 2060.415);
           l. Patient assessment, screening and treatment planning (see Section 2060.417, 419, 421,
               423); and
           m. Continuing recovery planning and discharge (see Section 2060.427).

2. To the extent permitted by law, Maxxam shall provide Kane County or its designee with 150 doses
   of NARCAN (Naloxone) or similar mutually agreeable medication per year for a total of 1,500 doses
   for a 10-year period, starting on the date one month after the start of operation and thereafter on the
   annual anniversary of such date.

3. The Special Use Permit approved by this Ordinance specifically and solely applies to the use and
   operation of all existing buildings on the subject Property as depicted on the site plan labeled
   “Maxxam Partners, LLC – Site Plan” and as described in the Application and Rider (Exhibit 2 to the
   Consent Decree). A copy of “Maxxam Partners, LLC – Site Plan” is separately attached and
   incorporated into the Consent Decree as Exhibit 5.
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4. Should Maxxam or its successors or assigns desire to add new buildings the parties shall comply
   with all applicable review and approval procedures in the Kane County Zoning Ordinance, as well
   as all applicable Kane County Ordinances, Illinois law, and federal and state anti-discrimination
   laws.

5. The Facility shall not provide outpatient treatment of methadone patients or any other outpatient
   program or service unless it is related to a patient’s inpatient continuum of care.

6. Maxxam agrees to provide a level of security that, in the opinion of Maxxam’s retained security
   vendor, is sufficient to protect the facility’s residents and the surrounding community.

7. Maxxam shall comply with Change of Ownership/Management requirements in Section 2060.221 of
   the Code. Section 2060.221 provides, among other things, that each license issued by the
   Department of Human Services is not transferable and becomes null and void when there is a
   change of ownership involving more than 25% of the aggregate ownership interest within a one-
   year period or a significant change in management. Maxxam agrees to contemporaneously provide
   the County Zoning Officer with a copy of any notifications sent to the Department of Human
   Services under Section 2060.221(b). Maxxam agrees to provide to any successor owner(s) a copy
   of this Ordinance.

8. Maxxam shall use reasonable efforts to pursue accreditation for the Facility by the Joint
   Commission on Accreditation of Health Care Organizations (“JCAHO”) and the Commission on
   Accreditation of Rehabilitation Facilities (“CARF”).

9. Maxxam and the Facility shall comply, as applicable, with all requirements of the Illinois Controlled
   Substances Act, 720 ILCS 520, and any other applicable federal, state or local law, regulation or
   code pertaining to the storage, distribution, disposal, and dispensation of any controlled substance.

10. Maxxam shall comply with the Professional Staff Qualifications requirement provided in Section
    2060.309 of the Code. Such compliance includes, in any medically managed or monitored
    detoxification service that at least one staff member, 24 hours a day, shall be a registered nurse, or
    a licensed practical nurse or certified emergency medical technician who has completed at least 40
    hours of formal training in the field of alcoholism or other substance abuse. Notwithstanding
    Section 2060.309’s staffing requirements, Maxxam agrees to provide a Medical Director as
    referenced in Section 2060.413(a)(1) on premises at least 30 hours per week.

11. Within one year of the start of operation, Maxxam shall establish a foundation through the
    Community Foundation for the Fox River Valley for outreach to the Kane County community in
    connection with issues pertaining to substance abuse and addiction. Maxxam will fund the
    foundation at a minimum level of $15,000 per year for a minimum of 10 years.

12. Maxxam shall comply with all applicable federal, state and local laws, regulations and codes
    pertaining to wastewater at its facility, including but not limited to the Wastewater Land Treatment
    Site Regulation Act, 415 ILCS 50/1, all related legal requirements of Kane County, and all related
    requirements of the Illinois and federal Environmental Protection Agency. Maxxam shall provide to
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   the County any well monitoring/testing reports it receives from the Illinois or federal Environmental
   Protection Agency and/or any reports it receives from third-party vendors within 30 days of receipt.

13. Maxxam shall comply with Section 2060.305 (g) (1)-(24) of the Code’s spacing requirements
    including that (a) a minimum of 80 square feet is provided in a single bedroom; (b) 60 square feet is
    provided per bed in a multi-bedroom with no more than four beds per room; and (c) no bunk beds
    will be used for any detoxification patient.

14. Maxxam shall install a fence substantially in compliance with Exhibit 6 to the Consent Decree. The
    fence shall be located and installed around the Property 5-yards inside the survey line except for
    designated floodplain areas, as indicated in Exhibit 6 to the Consent Decree, and across the private
    road/access drive. The fence shall be a minimum of 4 feet in height and shall be similar to the fence
    depicted in the photograph in Exhibit 7 to the Consent Decree.

15. Exterior lighting fixtures upon replacement of existing fixtures or upon installation of new fixtures
    shall be full cut-off and have a color temperature of less than 3,000 Kelvin, provided that such
    fixtures do not compromise security as determined by the security system provider.

16. All signage related to the Facility shall be restricted to the Property. Further, such signage or
    advertising shall not be placed on the water tower located on the Property.

17. Maxxam shall pay the Fox River & Countryside Fire/Rescue District or any entity providing
    emergency medical services (EMS) to the Subject Property, including through any mutual aid
    agreements (hereinafter collectively the “EMS Entity”), directly for all emergency transport fees for
    transports to or from the Property, according to the EMS Entity’s regular cost recovery and fee
    schedule in effect at the time of the transport. Maxxam agrees that the EMS Entity can bill Maxxam
    directly for all such transport fees and that Maxxam shall pay such fees on behalf of its patients and
    residents directly to the EMS Entity.
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                        Exhibit 4
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                                             EXHIBIT 4

                                      (Report of Compliance)

Kane County Development Department
Zoning Division, Kane County Gov’t Center
219 Batavia Ave.
Geneva, Illinois 60134
Attn. Kane County Zoning Officer

        Re: 41W400 Silver Glen Rd., St. Charles, IL 60175

To Whom It May Concern:

Pursuant to the terms of the Consent Decree, dated August _, 2018, Maxxam (or its successor)
hereby confirms compliance with all the conditions contained therein. In particular, Maxxam
confirms the following to the best of its knowledge and belief:

        1.     Maxxam has obtained all necessary licenses from the State of Illinois on
_____________. Since obtaining the necessary State licenses, Maxxam has maintain those
licenses in good standing and with any revocation, suspension or other disciplinary actions.

       Maxxam confirms that it is in full compliance with all legal and administrative
requirements of the Department of Human Services Division of Alcoholism and Substance
Abuse Treatment and Intervention Licenses (“DHS”), found at 77 Illinois Administrative Code,
Subchapter d, Part 2060 (“Code”), to the satisfaction of Department of Human Services.

      2.      Maxxam has provided Kane County or its designee with 150 doses of NARCAN
(Naloxone) or similar mutually agreeable medication in the last 12 months.

       3.      Maxxam confirms that its use of the property is in compliance with the site plan
labeled “Maxxam Partners, LLC – Site Plan” and as described in the Application and Rider
(Exhibit 2 and 5 to the Consent Decree).

        4.      Maxxam has not added any additional buildings to the site without complying
with all applicable review and approval procedures in the Kane County Zoning Ordinance.

        5.     Maxxam confirms that it is not providing outpatient treatment of methadone
patients or any other outpatient program or service unless it is related to a patient’s inpatient
continuum of care.

         6.     Maxxam has retained a security vendor on ____________. Maxxam confirms that
it is providing a level of security that, in the opinion of this retained security vendor, is sufficient
to protect the facility’s residents and the surrounding community.




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       7.      Maxxam has had no change of ownership greater than 25% of the aggregate
ownership interest or change in management [or Maxxam has provided the County Zoning
Officer with a copy of any notifications sent to the Department of Human Services under Section
2060.221(b) and provided any successor owner(s) a copy of Ordinance ___ and the Consent
Decree].

        8.       Maxxam has obtained [ or used reasonable efforts to pursue] accreditation for the
Facility by the Joint Commission on Accreditation of Health Care Organizations (“JCAHO”) and
the Commission on Accreditation of Rehabilitation Facilities (“CARF”). [Those reasonable
efforts are as follows: _________________________________________________.]

         9.    Maxxam confirms that it has complied with all applicable requirements of the
Illinois Controlled Substances Act, 720 ILCS 520, and any other applicable federal, state or local
law, regulation or code pertaining to the storage, distribution, disposal, and dispensation of any
controlled substance.

        10.    Maxxam confirms that it has complied with the Professional Staff Qualifications
requirement provided in Section 2060.309 of the Code, including that at least one staff member,
24 hours a day, is a registered nurse, or a licensed practical nurse or certified emergency medical
technician who has completed at least 40 hours of formal training in the field of alcoholism or
other substance abuse. Maxxam also confirms that it has exceeded Section 2060.309’s staffing
requirements in that it has provided a Medical Director as referenced in Section 2060.413(a)(1)
on premises at least 30 hours per week.

        11.    Maxxam confirms that it has established a foundation through the Community
Foundation for the Fox River Valley for outreach to the Kane County community in connection
with issues pertaining to substance abuse and addiction and has funded the foundation at a
minimum level of $15,000 per year.

        12.    Maxxam confirms that it has complied with all applicable federal, state and local
laws, regulations and codes pertaining to wastewater at its facility, including but not limited to
the Wastewater Land Treatment Site Regulation Act, 415 ILCS 50/1, all related legal
requirements of Kane County, and all related requirements of the Illinois and federal
Environmental Protection Agency. Maxxam has provided to the County any well
monitoring/testing reports it receives from the Illinois or federal Environmental Protection
Agency and/or any reports it receives from third-party vendors within 30 days of receipt.

        13.    Maxxam has complied with Section 2060.305 (g) (1)-(24) of the Code’s spacing
requirements including that (a) a minimum of 80 square feet is provided in a single bedroom; (b)
60 square feet is provided per bed in a multi-bedroom with no more than four beds per room; and
(c) no bunk beds will be used for any detoxification patient.

       14.     Maxxam has installed and maintained a fence substantially in compliance with
Exhibit 6 and 7 to the Consent Decree.




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        15.    Maxxam confirms that any new or replacement exterior lighting fixtures are full
cut-off and have a color temperature of less than 3,000 Kelvin, provided that such fixtures do not
compromise security as determined by the security system provider.

       16.     Maxxam confirms that all signage related to the Facility is only on the Property
and that no signage or advertising is on the water tower located on the Property.

        17.     Maxxam confirms that it has paid the Fox River & Countryside Fire/Rescue
District or any entity providing emergency medical services (EMS) to the Subject Property all
emergency transport fees for transports to or from the Property, according to the EMS Entity’s
regular cost recovery and fee schedule in effect at the time of the transport on behalf of its
patients and residents directly to the EMS Entity.

Maxxam understands and agrees that this report is not confidential and is subject to public
disclosure.

MAXXAM PARTNERS, LLC


By:_________________________________

Its:_________________________________

Date:_______________________________



SUBSCRIBED and SWORN to before

me this ____ day of _________, 2018.


______________________________
      NOTARY PUBLIC




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                        Exhibit 5
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                        Exhibit 6
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